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                                                McGuireWoods LLP                         Brian D. Schmalzbach
                                                800 East Canal Street                    Direct: 804.775.4746
                                                Richmond, VA 23219-3916                  bschmalzbach@mcguirewoods.com
                                                Phone: 804.775.1000
                                                Fax: 804.775.1061
                                                www.mcguirewoods.com




June 12, 2023

Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
95 Seventh Street
San Francisco, California 94103

        Re: No. 22-55342, FTC v. Apex Capital Group, LLC

Dear Ms. Dwyer,

        Contrary to the FTC’s May 25 Rule 28(j) letter, FTC v. Hewitt, 68 F.4th 461 (9th Cir.
2023), is irrelevant to Wells Fargo’s Article III standing to intervene.

        The FTC brings Hewitt to the Court’s attention for the proposition that Wells Fargo lacks
a redressable injury for Article III standing because vacating the underlying judgments pursuant
to Fed. R. Civ. P. 60(b) is speculative. Hewitt does not support the FTC’s proposition.

         Critically, the Hewitt defendant was attempting to retroactively apply AMG Capital to
vacate an equitable monetary judgment entered against him under Section 13(b) more than three
years prior. Wells Fargo does not seek to vacate the stipulated judgments entered in Apex, was
not a defendant in the Apex case, and is not seeking to retroactively apply AMG Capital. Indeed,
Wells Fargo has made very clear in its intervention papers and the appeal briefing that it seeks to
apply AMG Capital for the prospective relief sought by the Receiver through the Wells Fargo
Litigation. Not only does the FTC’s application of Hewitt necessarily require a merits analysis
that is premature and not before this Court, it also attempts to focus on a merits determination
that is unnecessary to establish redressability for Article III standing. The only question required
to establish redressability for purposes of Article III standing is whether Wells Fargo’s claim is
likely to be redressed through a positive ruling. Because of the material differences in Hewitt, it
does not render Wells Fargo’s injury speculative.

        Accordingly, due to these material differences, Hewitt does not render Wells Fargo’s
injury unlikely to be redressed.



                                                                     Sincerely,

                                                                     /s/ Brian D. Schmalzbach



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           Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C.
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                                       Brian D. Schmalzbach
                                       MCGUIREWOODS LLP
                                       800 East Canal Street
                                       Richmond, VA 23219
                                       T: (804) 775-4746
                                       bschmalzbach@mcguirewoods.com

                                       Counsel for Appellants
                                       Wells Fargo & Company and
                                       Wells Fargo Bank, N.A.

cc:   Counsel of Record by ECF
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2023, the foregoing was filed with the Clerk of the United

States Court of Appeals for the Ninth Circuit using the appellate CM/ECF system, which will also

serve counsel of record.


Dated: June 12, 2023                         /s/ Brian D. Schmalzbach
                                             Brian D. Schmalzbach
